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JS-6

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

JOHNNIE LEE BARNES, CASE NO. 5:21-ev-01550-SVW (SK)
Petitioner, JUDGMENT

v.
RICK HILL, WARDEN,
Respondent.

 

 

Pursuant to the Order Dismissing Petition and Denying Certificate of
Appealability, IT Is ADJUDGED that this action is dismissed for lack of

jurisdiction.

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DATED: October 1, 2021 <fGen oy f. Gu. Sy

 

 

HON. STEPHEN V. WILSON
U.S. DISTRICT JUDGE
